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that.
And that is all I have to say.
THE COURT: Would your client like to have anything
to say? |
MR. BALDWIN: I believe he would, Judge.
THE COURT: All right.
DEFENDANT BODDIE: Yes, I want to --~- I would just

like to apologize for putting everybody through this. You,

Miss Conour, Mr. Dowd, everyone else in this. I'm truly —

sorry.. I don't feel like I deserve life, but I. do believe

‘that I have to pay for my crime since I was found guilty.

dust truly sorry about all of this, do feel very remorseful.
THE COURT: Thank you, Mr. Boddie. You might as_
well stay right here. |
This sentencing today, Mr. Boddie, is primarily about
choices. It is not just your choice, it is about the choice

that Congress makes as to how to respond to the serious drug

problem that we have in this country. Congress is trying to
‘respond to all of the cocaine that is available. They have .

hearings about what cocaine does in the community and how at poe

ruins people's lives and takes productive citizens and makes
criminals out of them and ruins families. And in your

history with this you see how people are killed as a result.

| Folks come in from out of town, your brother is killed.

DEFENDANT BODDIE: Yes, sir.

 

 

 

 
 

 

 

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THE COURT: And aunts are gone, uncles are gone,
kids are gone. It is just a horrible thing that this cocaine

does, and in response to that Congress authorizes these life

‘sentences.

And the Guidelines provide life sentences, and they are

‘concerned that the courts make findings, factual findings,

and base those findings on the record in order to arrive at
some consistency in the way that we handle -- the way the

courts handle this serious cocaine problem that we have in

‘this country. Ard those are choices that Congress has made,

choices that the security branch has made when faced with

this dilemma.
And you made some choices in this case. It got you where

you are today. Now, I see a choice made early in your life

‘that the money that this stuff could provide you, the power —

that it gives you in your community, help you focus on this

kind of a career, and it was a career according to the

evidence, and you made that choice.

Early on in your career with this you established .-

“yourself as somebody who can provide, or can ‘help provide” _

cocaine for the community and make yourself some money. And
then it gets bigger than that, and it got a lot bigger than

that. It got very big. And you were very efficient and very.

careful. and very skillful. Your role in. this is pretty .

‘distant from the street dealer, pretty distant fromthe

 

 

 

 

 
 

 

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24, | result. I can't find that there is ‘such: a disparity - in this

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person who buys it, very distant from the person who would do
about anything they could to get the money to purchase this
stuff. And so it is hard to detect who is in charge of this
conspiracy and how do you stop it.

well, law enforcement looks at the community and all-.of |
this cocaine coming up on the streets and all this violence
that it seems to create. How do you stop it? Well, they
made choices in how to stop it, and the choices that they.
make are to make deals with some pretty nasty characters.

And when they make those arrangements from where you sit

today it looks like they gave away too much. And your

counsel is concerned about that. I'm concerned about that.

The nature of this conspiracy is so successful, so much

| cocaine, and the violence in the community from.this is. so

| great; unsolved murders, some even solved.

And so it is necessary, it seems to me, to make those
kinds of decisions that you wouldn't want to make in every

case, but when a conspiracy is operated so skillfully and so

carefully and based on so much intimidation of others and a

sense. of family. and loyalty that has come’ out of all. ‘this,
there is a necessity to. make deals. And when we do that we
look at the testimony of those people closely. The jury

looked at it closely, I have looked at it closely, and as a

case as. to cause a ‘departure.

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It is a harsh sentence. I know it is a harsh sentence,
and it is a sentence that ig a reflection of congressional |
concerns and executive concerns for what to do with the

cocaine problem in-our community. When you make the choices,

"Mr. Boddie, that you havé made-and:. you involve yourself in as’

much of this as you have, the consequence is a life sentence.
So, pursuant to the Sentencing Reform Act of 1984, it is
my judgment that you be committed to the custody of the

Bureau of Prisons to be imprisoned for a term of life on

Count 1 and a term of 240 months on Counts 7, 8, 12, 18, and ©

21 to be served concurrently.
I considered a fine in this case. I don't think a fine
of any magnitude is appropriate. I don't find that you have

got any resources .out. of which you could ‘pay a fine at this

“time. ” will ‘assess instead a small fine of $5, 000, which

you can pay through the Inmate Responsibility Program.

I'm departing from the Guideline range based on your

financial resources and future ability to pay. I find you

don' t have the. ability to_ pay interest ,. and I'1il ‘waive the
interest, requirement . And you will notify the probation
officer of any material change or circumstance that might
affect your ability to pay.

And on release from imprisonment you will be placed on

”

supervised. release for a term of five years. Within 72 hours.

‘of release from the custody “of the Bureau of Prisons you will -

 

 

 

 
 
 

 

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report in person to the probation office in the district to
which you are released.
While you are on supervised release you will not commit

another, federal, state, or local crime. You will refrain

from unlawful use of controlled substances, and you will

submit to one drug test within 15 days of placement on
supervised release and two periodic drug tests as directed
thereafter by the probation officer.

And you will comply with the standard conditions that

‘| have been adopted by this Court, as well as these additional

conditions:
You will pay any fine you haven't paid and provide the

probation officer access to any requested financial

information. You will not incur new credit charges or open

additional lines of credit without the approval of the
probation officer.
You will participate in a program of testing for drug

abuse and submit to the search of your person, vehicle,

_ office, residence, and property: by the probation officer and

seizure of contraband found, including illegal drugs ‘and

weapons. And you will warn any other residents that the
premises may be subject to searches.

“You do. owe a special assessment of $600 by statute. That

is due right. away. I assume you don't have that? ° .

DEFENDANT BODDIE: No, sir.

 

 

 

 
 

 

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THE COURT: You can pay that through the Inmate
Financial Responsibility Program.
And you are remanded now to the custody of the United
States Marshal.
I neglected to mention something because it is probably
fairly obvious. You wish to appeal this, don"t. you?
DEFENDANT BODDIE: Yes, sir.
THE COURT: Yes, all right. You have ten days to
file that praecipe for appeal. All right?
MR. BALDWIN: Yes, sir.
THE COURT: Okay.

(The Court adjourned at 10:20 A.M.)

I CERTIFY THAT THE FOREGOING IS A CORRECT TRANSCRIPT
FROM THE RECORD OF THE PROCEEDINGS IN THE ABOVE

B/E ©

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